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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -:
ALEXANDER INTERACTIVE, INC.,       : 12 Civ. 6608 (PKC) (JCF)
ALEXANDER SCHMELKIN, and JOSH      :
LEVINE,                            :         MEMORANDUM
                                   :         AND ORDER
               Plaintiffs,         :
                                   :
     - against -                   :
                                   :
ADORAMA, INC., ADORAMA ENTERPRISES :
LLC, EUGENE MENDLOWITS, and MENDEL :
MENDLOWITS,                        :
                                   :
               Defendants.         :
- - - - - - - - - - - - - - - - - -:
MENDEL MENDLOWITS, ADORAMA         :
ENTERPRISES LLC, ADORAMA, INC., and:
EUGENE MENDLOWITS,                 :
                                   :
               Counter Claimants, :
                                   :
     - against -                   :
                                   :
ALEXANDER INTERACTIVE, INC, JOSH   :
LEVINE, and ALEXANDER SCHMELKIN,   :
                                   :
               Counter Defendants. :
- - - - - - - - - - - - - - - - - -:
JAMES C. FRANCIS IV
UNITED STATES MAGISTRATE JUDGE


     The   defendants    in   this     action,   Adorama,    Inc.,      Adorama

Enterprises,   LLC,     Eugene    Mendlowits,    and   Mendel      Mendlowits

(collectively, “Adorama”) have filed a motion to compel production

of documents from the plaintiffs, Alexander Interactive, Inc.,

Alexander Schmelkin, and Josh Levine (collectively, “Alexander

Interactive”   or   “AI”).       The   defendants   also    seek   to   extend

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discovery deadlines.      The plaintiffs, for their part, have cross-

moved to compel production of three groups of documents from the

defendants.   Both sides seek sanctions, each accusing the other of

making a mockery of the Federal Rules of Civil Procedure.               (Letter

of Denise L. Savage dated Dec. 5, 2013 (“Pl. Motion”) at 2, 4;

Defendants’ Opposition to Pl. Motion (“Def. Opp. Memo.”) at 2-3, 8;

Plaintiffs’ Opposition to Defendants’ Motion to Compel (“Pl. Opp.

Memo.”) at 22-23).      For the reasons that follow, the defendants’

motions are granted in part and denied in part, and the plaintiffs’

motion is denied.

Background

     The   full     background   of   this   case   can    be   found   in   the

Memorandum    and    Order   dated    December      4,    2013.     Alexander

Interactive, Inc. v. Adorama, Inc., No. 12 Civ. 6608, 2013 WL

6283511, at *1-2 (S.D.N.Y. Dec. 4, 2013).           The facts pertinent to

the instant motion are as follows.

     In 2010, Adorama, an electronics retailer, hired Alexander

Interactive, a web design and engineering firm, to design a new

website that could run on a Magento eCommerce platform.                 (Second

Amended Complaint (“2d Am. Compl.”), ¶¶ 9-10, 15, 19). The website

was to be completed by May 2011.       (Defendants’ Memorandum of Law in

Support of Their Motion to Compel Production of Documents (“Def.

Memo.”) at 3).      Alexander Interactive hired outside contractors to

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work on the project, including Amicon, a code development company

based    in   India.      (Def.    Memo.       at   3;   Deposition    of    Alexander

Schmelkin (“Schmelkin Dep.”), attached as Exh. E to Declaration of

Daniel J. Brown dated Nov. 20, 2013 (“Brown Decl.”), at 357-360;

Pl. Memo. at 3).          Amicon billed almost three thousand hours of

coding work on the Adorama project. (Def. Memo. at 3; Brown Decl.,

¶ 15).    As revealed in deposition testimony, Alexander Interactive

complained to Amicon’s CEO about “bad coding and poor execution” on

the   Adorama    project.         (Schmelkin        Dep.   at   361-64;     E-mail   of

Alexander Schmelkin dated Oct. 26, 2011 (“Schmelkin E-mail”),

attached as Exh. F to Brown Decl.).

        By January 2012, the website had not yet been completed and

the project was at risk of foundering. (2d Am. Compl., ¶¶ 35, 37).

The plaintiffs contend that Adorama repeatedly requested changes to

the site that were outside the agreed-upon scope of work, failed to

pay properly submitted invoices, and refused to perform user

acceptance      testing    on     the    code       that   Alexander       Interactive

delivered.      (2d Am. Compl., ¶ 39; Pl. Opp. Memo. at 4-5).                        The

defendants      assert     that    the     delays        were   due   to     Alexander

Interactive’s shoddy work and poor project management skills.

(Def. Memo. at 3).          In March 2012, Alexander Interactive sent

Adorama a termination notice. (2d Am. Compl., ¶¶ 37-39).                        In an

attempt to salvage the project, non-party Magento was recruited to

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perform an audit of Alexander Interactive’s work.                  (Declaration of

Glen Holman dated Oct. 28, 2013, attached as Exh. C to Brown Decl.,

¶ 11)). The audit allegedly revealed significant problems with the

code delivered by Alexander Interactive.               (Def. Memo. at 3).

     Adorama subsequently launched a new website, with Magento

providing    services    that   had       been   originally       assigned   to   the

plaintiffs. (2d Am. Compl., ¶¶ 60, 68).                 Alexander Interactive

brought suit, alleging that Adorama infringed its intellectual

property by copying the code provided by Alexander Interactive.

(2d Am. Compl., ¶¶ 44-57, 61-65; Pl. Opp. Memo. at 1-2).

Standard

     Parties    are     entitled     to    discovery    of    documents      in   the

“possession, custody or control” of other parties, Fed. R. Civ. P.

34(a)(1), so long as they are “relevant to any party’s claim or

defense,” Fed. R. Civ. P. 26(b)(1).                 “Although not unlimited,

relevance,    for   purposes    of    discovery,       is    an   extremely   broad

concept.”    Condit v. Dunne, 225 F.R.D. 100, 105 (S.D.N.Y. 2004);

see also Nunez v. City of New York, No. 11 Civ. 5845, 2013 WL

2149869, at *2 (S.D.N.Y. May 17, 2013).                     To be relevant, the

requested documents must at least “appear[] reasonably calculated

to lead to the discovery of admissible evidence.”                  Fed. R. Civ. P.

26(b)(1).    The burden of demonstrating relevance is on the party

seeking discovery.       Trilegiant Corp. v. Sitel Corp., 272 F.R.D.

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360, 363 (S.D.N.Y. 2010); Mandell v. Maxon Co., No. 06 Civ. 460,

2007 WL 3022552, at *1 (S.D.N.Y. Oct. 16, 2007).           “Once relevance

has been shown, it is up to the responding party to justify

curtailing discovery.”        Fireman’s Fund Insurance Co. v. Great

American Insurance Co. of New York, 284 F.R.D. 132, 135 (S.D.N.Y.

2012) (internal quotation marks omitted).

Discussion

     A.      Motion to Compel AI to Produce Amicon Documents

     Adorama seeks to compel the production of documents in the

possession     of   Amicon,   which   it   characterizes    as   Alexander

Interactive’s “long-standing affiliate.”        (Def. Memo. at 1).       The

documents sought include all internal communications regarding the

Adorama project, all communications and written agreements between

Amicon and Alexander Interactive, and all communications between

Amicon and third parties relating to the Adorama project.            (Def.

Memo. at 12). Adorama asserts that these documents come within the

scope of the defendants’ December 2012 request for production of

documents.    (Def. Memo. at 6).      Alexander Interactive opposes the

motion, contending (1) that documents held by Amicon are not in its

custody or control and (2) that Adorama has already received all

coding done by Amicon on the Adorama project, as included within

the work delivered by Alexander Interactive, as well as all

correspondence between Alexander Interactive and Amicon employees

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relating to the Adorama project.             (Pl. Opp. Memo. at 2, 13; Def.

Memo. at 6-7). Counsel for the parties met and conferred regarding

the request but were unable to come to a resolution.              (Def. Memo.

at 6-7; Reply Declaration of Daniel J. Brown dated Dec. 11, 2013

(“Brown Reply Decl.”), ¶ 2).

     The first hurdle that the defendants must surpass is the

“minimal showing of relevance required under the Rules.” In re

Initial Public Offering Securities Litigation, No. 21 MC 92, 2004

WL 60290, at *2 (S.D.N.Y. Jan. 12, 2004); see also In re Terrorist

Attacks on September 11, 2001, 293 F.R.D. 539, 546 (S.D.N.Y. 2013).

Here, the documents requested are clearly pertinent to Adorama’s

defenses    and    counterclaims,        which     include    allegations      of

negligence,     shoddy   work,   and         misrepresentation   by    Alexander

Interactive.      (Def. Memo. at 5-6; Pl. Opp. Memo. at 8).                   The

quality    of   coding   provided   by       Alexander   Interactive    and   its

subcontractors, as well as any communications that show Alexander

Interactive’s awareness of quality control issues, are directly

relevant to Adorama’s contentions.             The defendants have presented

ample evidence to satisfy their burden, including testimony and e-

mails referencing disputes over the code Amicon delivered and

Alexander Interactive’s alleged decision to hire the cheapest

Amicon developers for the Adorama project.               (Def. Memo. at 5-6;

Schmelkin Dep. at 360-66; Schmelkin E-mail).

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     Next, the defendants must establish Alexander Interactive’s

“possession, custody, or control” over the requested documents, as

required by Rule 34 of the Federal Rules of Civil Procedure.                    Fed.

R. Civ. P. 34(a)(1).       “The term control in the context of discovery

is to be broadly construed.” New York ex rel. Boardman v. National

Railroad Passenger Corp., 233 F.R.D. 259, 268 (N.D.N.Y. 2006); see

Northern Mariana Islands v. Millard, 287 F.R.D. 204, 210 & nn.40-41

(S.D.N.Y. 2012).        For a party to have control over a third party’s

documents, “all that is required is that the party have the right,

authority, or practical ability to obtain the documents at issue.”

Gruss v. Zwirn, No. 09 Civ. 6441, 2013 WL 6098482, at *5 (S.D.N.Y.

Nov. 20, 2013) (internal quotation marks omitted); see also Thai

Lao Lignite (Thailand) Co. v. Government of Lao People’s Democratic

Republic,   924    F.    Supp.    2d    508,   515   (S.D.N.Y.   2013)    (control

“encompasses      documents      to    which   a   party   has   access   and   the

practical ability to possess”) (internal quotation marks omitted);

United States v. Stein, 488 F. Supp. 2d 350, 360–61 (S.D.N.Y. 2007)

(collecting cases).        To determine a responding party’s “practical

ability” to obtain documents from a non-party, courts in this

district have looked to the existence of cooperative agreements or

contracts between the responding party and non-party, the extent to

which the non-party has a stake in the outcome of the litigation,

and the non-party’s past history of cooperating with document

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requests. See, e.g., In re NTL, Inc. Securities Litigation, 244

F.R.D. 179, 195 (S.D.N.Y. 2007), aff’d sub nom. Gordon Partners v.

Blumenthal, No. 02 Civ. 7377, 2007 WL 1518632 (S.D.N.Y. May 17,

2007); Golden Trade, S.r.L. v. Lee Apparel Co., 143 F.R.D. 514, 525

(S.D.N.Y. 1992).     Where control is contested, the party seeking

production of documents bears the burden of establishing the

opposing party’s control over those documents.            See Wiwa v. Royal

Dutch Petroleum Co., No. 96 Civ. 8386, 2009 WL 529224, at *2

(S.D.N.Y.   Feb.   17,   2009);   In    re   Flag   Telecom   Holdings,     Ltd.

Securities Litigation, 236 F.R.D. 177, 180 (S.D.N.Y. 2006).

     Relying on the expansive interpretation of “control,” the

defendants point to the close and continuing working relationship

between the plaintiffs and Amicon and various instances where both

Alexander   Interactive    and    Amicon     characterized    Amicon   as   “AI

Mumbai” or as Alexander Interactive’s “Mumbai operation.”                 (Def.

Memo. at 2, 4-5, 8-10).     The defendants also highlight the nearly

3,000 hours of work that Amicon billed on the Adorama project as

proof of their close connection to the plaintiffs.            (Def. Memo. at

3; Brown Reply Decl., ¶ 15).           Adorama contends that, given this

relationship, Amicon is unlikely to deny a request from Alexander

Interactive to produce documents.            (Def. Memo. at 7-10).        Thus,

they reason, Alexander Interactive has the “practical ability” to

obtain documents from Amicon.

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       In response, the plaintiffs state that while Amicon performed

work for Alexander Interactive, their relationship was no different

than that with other coding subcontractors. (Pl. Opp. Memo. at 14-

15).       Although both Mr. Schmelkin and Mr. Shinde, the CEO of

Amicon, at times referred to Amicon as “AI Mumbai,” the plaintiffs

assert that this was merely a way of describing an “offshore team”

arrangement that is common in the industry.          (Pl. Opp. Memo. at 9,

11-12, 15).     According to the plaintiffs, this is mere puffery and

nothing more than an echo of the marketing phrases on Amicon’s

website.      (Pl. Opp. Memo. at 12-13).        The two companies do not

share any partners, directors, employees, investors, officers, or

shareholders.       (Pl. Opp. Memo. at 9-11).         The plaintiffs also

represent that there are no written agreements between Alexander

Interactive and Amicon that would provide a basis for document

production.       Finally, Amicon has no apparent interest in this

litigation.1

       On the facts presented, there is no sufficiently strong


       1
       The plaintiffs also contend that the defendants must show
that India law does not prevent Amicon from turning documents over
to Alexander Interactive, citing Shcherbakovskiy v. Da Capo Al
Fine, Ltd., 490 F.3d 130, 138 (2d Cir. 2007). (Pl. Opp. Memo. at
21-22). While it is not necessary to reach this issue, it should
be noted that foreign law may not be determinative in this context.
See Chevron Corp. v. Donziger,      F.R.D.    , 2013 WL 5575833, at
*19 (S.D.N.Y. Oct. 10, 2013) (interpreting Shcherbakovskiy as
holding only that foreign law was pertinent, not dispositive, in
ordering production of documents from non-parties located abroad).

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connection between Alexander Interactive and Amicon to support a

finding of control.             The   two    companies,       although    enjoying      a

consistent working relationship, are separate entities on different

continents.        There is no reason to believe that Amicon would allow

Alexander Interactive access to its internal communications.                         Even

where    a   parent-subsidiary        relationship       exists,       other     factors

including     “a    showing    that   the    two    entities        operated    as   one,

demonstrated        access    to   documents       in   the    ordinary    course      of

business,     and     an     agency   relationship”           are    considered      when

determining whether a finding of control may be made.                          Ssangyong

Corp. v. Vida Shoes International, Inc., No. 03 Civ. 5014, 2004 WL

1125659, at *4 (S.D.N.Y. May 20, 2004) (internal quotation marks

omitted); see also SEC v. Credit Bancorp, Ltd., 194 F.R.D. 469, 472

(S.D.N.Y. 2000). The plaintiffs allege that Amicon has no interest

in this litigation, and the defendants have not shown otherwise.

(Pl. Opp. Memo. at 11, 21).            Nor is there any record of previous

cooperation or document production by Amicon in this case. (Pl.

Opp. Memo. at 11); cf. Chevron Corp., 2013 WL 5575833, at *17

(request supported where non-parties had history of producing

documents).

        The plaintiffs further contend that all correspondence between

Alexander Interactive employees and Amicon employees has already

been produced and that any agreement between the two is encompassed

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in documentation already provided to Adorama.                 (Pl. Opp. Memo. at

13-14).     However, to the extent that deposition testimony shows

that there may be outstanding communications between Alexander

Interactive and Amicon regarding the Adorama project (Schmelkin

Dep. at 362), those are relevant and must be produced by Alexander

Interactive.        In     addition,       any    agreement   between      Alexander

Interactive and Amicon must be duly identified by the plaintiffs,

even if, as the plaintiffs contend, these agreements are “generally

informal and discuss only pricing matters.”                   (Pl. Opp. Memo. at

14).    However, Alexander Interactive is under no duty to produce

documents       solely     in    Amicon’s    possession,      including     Amicon’s

internal     communications           on    the    Adorama       project    or    any

communications between Amicon and other third parties related to

the project.       The plaintiffs are also not required to ask Amicon

for such documents, as it is settled law that “a [responding] party

. . . need not seek such documents from third parties if compulsory

process against the third parties is available to the party seeking

the documents.”          Shcherbakovskiy, 490 F.3d at 138.

       B.   Plaintiffs’ Motion to Compel

       The subject of the plaintiffs’ motion to compel consists of 25

requests conveyed in three separate e-mails.

            1.      November 14 Deposition Requests

       During    October        and   November     2013,   the    plaintiffs     took

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depositions of several Adorama employees.          (Pl. Motion at 1).       At

these depositions, plaintiffs’ counsel requested that additional

documents be produced.          (Pl. Motion at 1).         The defendants,

however, have “uniformly taken the position” that oral requests

during depositions must be followed with a written demand, to which

the defendants then have 30 days to respond.           (Def. Opp. Memo. at

5).        According to the defendants, this practice is the proper

procedure under the Federal Rules of Civil Procedure and also

serves to avoid duplicative requests, reduce confusion, and promote

efficiency.      (Def. Opp. Memo. at 5).2     On November 13, defendants’

counsel sent plaintiffs’ counsel an e-mail to verify whether there

were any outstanding requests from the depositions (E-mail of

Matthew Sheppe dated Nov. 13, 2013, attached as Exh. 9 to Def.

Memo.), to which plaintiffs’ counsel responded with an e-mail

containing 21 requests (E-mail of Denise Savage dated Nov. 14,

2013, attached as Exh. B to Pl. Motion).             Several weeks later,

Alexander Interactive requested to meet and confer to discuss the


       2
       While Rule 34 contemplates only written document requests,
it is common practice in this District for lawyers to make oral
requests during depositions. See, e.g., Jackson v. Novell, Inc.,
No. 94 Civ. 3593, 1995 WL 144802, at *1 (S.D.N.Y. April 3, 1995).
Such oral requests may be enforced in motions to compel. Id. It
is also common practice for lawyers to “follow-up oral requests for
documents made at a deposition with a confirming letter.”
Employers Insurance Co. of Wausau v. Nationwide Mutual Fire
Insurance Co., No. 05 CV 0620, 2006 WL 1120632, at *2 (E.D.N.Y.
April 26, 2006).

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outstanding demands.      (E-mail of Matthew Sheppe dated Dec. 4, 2013

(“Sheppe 12/4/13 E-mail”), attached as Exh. 4 to Def. Opp. Memo.).

In response, defendants’ counsel indicated that they were free to

meet the following week, by which time they would also have

responded to the requests, and they reiterated their view that they

had 30 days to respond to the requests.          (Sheppe 12/4/13 E-mail).

             2.    November 18 www.aiexposed.com Optimization Requests

       In a November 18, 2013 e-mail, the plaintiffs demanded “all

documents relating to [the] defendants’ attempt to optimize the

www.aiexposed.com website.”         (Pl. Motion at 1; E-mail of Denise

Savage dated Nov. 18, 2013, attached as Exh. C to Pl. Motion).              The

defendants concede that this is a continuing request and contend

that any delay in responding can be explained by the time required

to “consider the matter, consult with [] counsel, review and search

for any responsive documents, including contacting a third party

based in England, and respond accordingly.” (Def. Opp. Memo. at 4-

5).

             3.    December 2 eCommerce Requests

       On December 2, 2013, Alexander Interactive requested documents

relating to Adorama’s relationship with Magento’s eCommerce Academy

and any funds paid to that entity by either the defendants or their

attorneys.     (E-mail of Denise Savage dated Dec. 2, 2013, attached

as Exh. D to Pl. Motion).        This request followed a deposition of

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Gabriel Bouhatous, a principal of eCommerce Academy.                   (Def. Opp.

Memo. at 2, 4; Pl. Motion at 2).         The plaintiffs’ motion to compel

was    filed    three   days   after   making    the   request,   in    what   the

defendants deem an “outrageous violation of the spirit and letter

of the Federal and Local Rules.”         (Def. Opp. Memo. at 4).         Although

the plaintiffs also characterize these requests as continuing

requests, the defendants argue that the plaintiffs never previously

requested       information    concerning       eCommerce    Academy     or    Mr.

Bouhatous.      (Def. Opp. Memo at 4 & n.5).           Nor, allegedly, did the

plaintiffs avail themselves of the opportunity to question Mr.

Bouhatous on this issue during his deposition. (Def. Opp. Memo. at

4).    In addition, the defendants note that the requests came after

fact discovery had ended, although the Court’s subsequent order on

December 4, 2013 extended fact discovery through the end of the

month.      (Def. Opp. Memo. at 4).

       4.      Defendants’ December 11, 2013 Response

       The     defendants   responded    to     Alexander    Interactive’s      25

outstanding requests on December 11, 2013, as promised in the e-

mail correspondence with plaintiffs’ counsel prior to the filing of

the motion.      (Def. Opp. Memo. at 1; Sheppe 12/4/13 E-mail; Letter

of Matthew Sheppe dated Dec. 11, 2013 (“Sheppe 12/11/13 Letter”),

attached as Exh. 5 to Def. Opp. Memo.).            Only three requests were

objected to entirely -- the request for Adorama employee Bill

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Parnes’ calender reflecting any meetings with Alexander Interactive

from June 2010 to February 2012; the request for Adorama consultant

Abe Steinberg’s calender, invoices, and underlying billing to

Adorama; and the request for all documents relating to work done by

Adorama consultant IT Craft.      (Sheppe 12/11/13 Letter).

     As to the other 22 requests, the defendants either agreed to

produce documents by December 20, 2013, stated they had already

produced all responsive documents, or stated could not find any

responsive documents.     (Sheppe 12/11/13 Letter).           In particular,

the defendants found no documents responsive to the November 18

requests regarding optimization of www.aiexposed.com, and agreed to

produce   documents   responsive     to   the      December    2   eCommerce

communications requests.     (Sheppe 12/11/13 Letter).             Given the

defendants’ comprehensive response,          the   plaintiffs’     motion   is

denied as to the 22 responded-to requests.         See U.S. Bank National

Association v. PHL Variable Insurance Co., No. 12 Civ. 6811, 2013

WL 1728933, at *3 (S.D.N.Y. April 22, 2013) (denying motion to

compel as moot where responding party agreed to turn over requested

documents); Estate of Townes Van Zandt v. Eggers, No. 05 Civ.

10661, 2007 WL 3145097, at *2 (S.D.N.Y. Oct. 26, 2007).

     This leaves only the objected-to requests.            Local Civil Rule

37.1 requires the moving party to set forth individually and

specifically   each   discovery    request    to   which    its    motion   is

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addressed and the “grounds upon which the moving party is entitled

to prevail as to each request or response.”           S.D.N.Y. R. 37.1.   The

plaintiffs have not sustained their burden of establishing the

relevance of the three outstanding requests. See Trilegiant Corp.,

275 F.R.D. at 363.

     Alexander Interactive characterizes the requests as continuing

from the plaintiffs’ Amended First Request for Production of

Documents to Defendants and Demand for Initial Disclosure of All

Documents -- which includes over 50 separate requests -- but

provides no further specificity.           (Pl. Motion at 1-2).           The

plaintiffs   then   assert   that     because   the    defendants   did   not

immediately seek to quash the requests upon receiving them, they

implicitly agree that these are continuing requests.            (Pl. Motion

at 2-3).   This argument is without merit, as the defendants raise

exactly this objection in their answer and protest that they should

not be “tasked with proving a negative.”         (Def. Opp. Memo. at 3).

Similarly,   “the   Court    cannot   be   tasked     with   performing   the

functions of [Alexander Interactive’s] legal counsel” in attempting

to discern whether these requests are indeed encompassed within the

plaintiffs’ original requests. Kilkenny v. Greenberg Traurig, LLP,

No. 05 Civ. 6578, 2008 WL 371808, at *1 (S.D.N.Y. Feb. 7, 2008)

(denying motion to compel for failure to comply with Local Civil

Rule 37.1); see also Wheeler v. Citigroup, No. 11 Civ. 4721, 2012

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WL 2953728, at *6 (S.D.N.Y. July 20, 2012). Finally, even if these

requests were shown to be continuing, there is no basis for

assuming they are necessarily relevant.         Relevance is mentioned

only cursorily in relation to the December 2 requests, and is

otherwise not addressed at all.            (Pl. Motion at 1-2).          The

plaintiffs’ motion to compel is therefore denied.

     C.     Extension of Discovery Deadlines

     The defendants seek to extend fact discovery to February 7,

2014 from the current deadline of December 31, 2013. The basis for

the request is the plaintiffs’ production on November 1, 2013, the

day after fact discovery was originally scheduled to close, of an

external hard drive containing the “entire website created by

[Alexander Interactive] in its final incarnation at the time

[Alexander Interactive] terminated the [Master Services Agreement.”

(Letter of Matthew Sheppe dated Nov. 27, 2013 (“Sheppe 11/27/13

Letter”) at 1-2).     Log-in information for the drive, which was

password-protected, was provided on November 13, 2013.             (Sheppe

11/27/13 Letter at 2).    Adorama contends that this information is

directly responsive to Request No. 11 of the defendants’ first

request for production of documents and should have been provided

at the beginning of discovery.      (Sheppe 11/27/13 Letter at 2-3).

Alexander   Interactive   opposes    the   request   for   an   extension,

allegedly because the defendants already had “their own version of

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the data contained on this external drive in their possession and

so could have already taken discovery with respect to this data.”

(Sheppe 11/27/13 Letter at 4).         As discussed above, however, the

actual work that Alexander Interactive delivered to Adorama is at

the heart of this lawsuit, and it is not unreasonable to think

there may be differences between what Adorama contends it received

and what Alexander Interactive contends it delivered.

        Adorama is therefore entitled to a full review of the contents

of the external drive.       The defendants’ request is granted, and

fact discovery will be extended to February 7, 2014, solely for the

purposes    of   taking   discovery   concerning   the   contents   of   the

external computer drive that the plaintiffs produced on November 1,

2013.     This may include discovery relating to the contents and

compilation of the external drive and any discrepancies that may be

found between the data on the drive and the data already in the

defendants’ possession, as well as “a forensic inspection of

[Alexander Interactive’s] computer system and servers to determine

when the contents of the drive were prepared, assembled, modified,

and downloaded from [Alexander Interactive’s] servers onto the

external drive.”     (Sheppe 11/27/13 Letter at 3).      The deadline for

the parties to complete expert discovery will also be extended to

accommodate this scheduling change.         The parties shall exchange

initial expert reports by February 28, 2014, exchange rebuttal

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reports by April 18, 2014, and complete expert discovery by June 6,

2014.

        The defendants also request that the deadline to take the

depositions of Jeremy Villano and Jaime Singson be extended through

January 15, 2014.      As plaintiffs’ counsel will be unavailable for

a   period   of    three   weeks   in   late   December,   this   request   is

reasonable.       The deadline shall be extended accordingly.

        D.   Sanctions

        Both parties move, pursuant to Rule 37 of the Federal Rules of

Civil Procedure, for sanctions.          The plaintiffs seek sanctions in

both motions (Pl. Motion at 4; Pl. Opp. Memo. at 22-23), while the

defendants seek sanctions for the plaintiffs’ motion to compel

(Def. Opp. Memo. at 8).      Rule 37(a) requires that, when a motion to

compel is granted or discovery is provided after such a motion is

filed, the court order the party “whose conduct necessitated the

motion,” its attorney, or both “to pay the movant’s reasonable

expenses incurred in making the motion, including attorney’s fees,”

unless the conduct was substantially justified or the award would

be unjust.    Fed. R. Civ. P. 37(a)(5)(A); Underdog Trucking, LLC v.

Verizon Services Corp., 273 F.R.D. 372, 377 (S.D.N.Y. 2011).            Both

parties have already been cautioned that “any future discovery

motion in this case must strictly satisfy the requirements of the

Federal Rules of Civil Procedure, including Rule 11 and Rule

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37(a)(1).”    Alexander Interactive, Inc., 2013 WL 6283511, at *9.

Sanctions may be appropriate if a party “ignores requests or

engages in delaying tactics,” even if the party “doesn’t explicitly

refuse, or even agrees, to produce discovery.”               Kelly v. City of

New York, No. 01 Civ. 8906, 2007 WL 1746912, at *2 (S.D.N.Y. June

15, 2007); see also Residential Funding Corp., 306 F.3d at 112

(noting that “as a discovery deadline or trial date draws near,

discovery    conduct    that    might    have      been   considered       ‘merely’

discourteous at an earlier point in the litigation may well breach

a party’s duties to its opponent and to the court.”).

     The plaintiffs ask the Court to sanction the defendants for

filing the motion to compel Amicon documents, contending the motion

was meritless and “misleading.”              (Pl. Opp. Memo. at 9, 22-23).

Alexander Interactive claims that Adorama provides only snippets of

deposition   testimony     to   create       the   impression     of   a   special

relationship between Alexander Interactive and Amicon.                 (Pl. Opp.

Memo. at 22).      However, both parties engaged in the selective

excerpting of deposition testimony that the plaintiffs decry.

While ultimately unpersuasive, the defendants made a good faith

argument based upon the Second Circuit’s broad definition of

“control”    and   on   indications     in     testimony    and   e-mails     that

Alexander Interactive had a sufficiently close relationship with

Amicon to give it the “practical ability” to obtain documents.

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Sanctions are not warranted.

        In its motion to compel, Alexander Interactive argues that

sanctions are warranted because the defendants refused to meet and

confer regarding the requests and failed to timely produce the

documents.       (Pl. Motion at 4).         Previously admonished as to the

importance       of    the   meet    and    confer     requirement,     Alexander

Interactive, Inc., 2013 WL 6283511, at *2-3, plaintiffs’ counsel

now charges defendants’ counsel with violating this duty.                   (Pl.

Motion at 4). However, no meet and confer was necessary because e-

mail correspondence appended to both parties’ submissions clearly

shows that defendants’ counsel indicated it would provide responses

within the week.        (Sheppe 12/4/13 E-mail).            And this amounted to,

at most, a delay of several weeks in responding to the plaintiffs’

three sets of requests.              Such a delay, especially where the

plaintiffs have not definitively established that the requests were

continuing requests, is not sufficient to sustain sanctions.                   Cf.

Kelly, 2007 WL 1746912, at *2-3 (sanctions warranted given four

month    delay    in   responding     to    discovery   request,     without   any

indication when production might begin).

        In   turn,     Adorama      seeks       sanctions     against   Alexander

Interactive, asserting the plaintiffs’ “unnecessary” motion could

have been avoided either by following the Federal Rules of Civil

Procedure or by waiting a few days.              (Def. Opp. Memo. at 1).   While

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the plaintiffs' action was premature, it may be explained by the

imminent     discovery    deadline.      Under    these   circumstances,    the

defendants' request for sanctions is denied.

Conclusion

       For the foregoing reasons,        the defendants' motion to compel

(Docket no.     70)   is granted in part and denied in part.          To the

extent they have not already done so, the plaintiffs shall produce

all      communications     in   their       possession   between   Alexander

Interactive and Amicon regarding the Adorama project, and identify

any agreements between the two.          The plaintiffs' motion to compel

(Docket no. 79) is denied as to the three outstanding requests for

production.     Fact discovery will be extended to February 7, 2014,

only for discovery related to the contents and creation of external

hard drive recently produced by the plaintiffs.               Expert reports

will now be due on February 28,          2014.     The deadline to take the

depositions of Mr. Villano and Mr. Singson will be extended until

January 15, 2014.

                          SO ORDERED.



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                          JAMES C. FRANCIS IV
                          UNITED STATES MAGISTRATE JUDGE

Dated:       New York, New York
             January 6, 2014



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